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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF DELAWARE

         ARM LTD.,                                          )
                                                            )
                                 Plaintiff,                 )
                                                            )
                  v.                                        )    C.A. No. 22-1146-MN
                                                            )
         QUALCOMM INC., QUALCOMM                            )
         TECHNOLOGIES, INC. and NUVIA, INC.,                )
                                                            )
                                 Defendants.                )

                       STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

                  IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of the

         Court, that the deadline for Plaintiff to file a Motion to Redact the Official Transcript of the November

         20, 2024 Pretrial Conference is hereby extended to January 3, 2025.

         YOUNG CONAWAY STARGATT & TAYLOR, LLP                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

             /s/ Robert M. Vrana                                /s/ Jennifer Ying
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         December 16, 2024

                         SO ORDERED this _______ day of ______________________, 2024.



                                                         The Honorable Maryellen Noreika
                                                         United States District Judge


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